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                           UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF MARYLAND
                                      at    BALTIMORE


In re:                                                :
             SCOTT A. MASON                           :   CASE NO. 18-22014
                                                      :
             GRACE K. MASON                           :   CHAPTER 13
                                                      :
                                   Debtor(s)          :
                                                      :


                                      MOTION TO CONVERT
                                     CASE UNDER CHAPTER 13
                                    TO CASE UNDER CHAPTER 7


        Pursuant to 11 U.S.C. § 1307(a), Scott A. Mason and Grace K. Mason, the Debtor(s), requests
this court to convert their case under Chapter 13 to a case under Chapter 7, and as grounds states as
follows:

       1. The Debtors filed for relief under Chapter 13 of the Bankruptcy Code on September 10, 2018,
The confirmation hearing for their Plan is scheduled for January 8, 2019.              .

        2. Plan payments in this matter were proposed at $200.00 for the first month, and $329.00
monthly thereafter. While these amounts may seem modest, the Debtors have been struggling to make
even the first payment.

        3. Debtor Scott Mason has had a reduction in income, which negatively impacts the household
budget and the Debtors’ ability to comply with the requirements of their Chapter 13 proceeding.

       4. The ability to obtain a replacement job with a higher rate of pay, or the ability to obtain
supplemental or additional household income is unlikely at this time.

        5. The Debtors have not been able to proportionately reduce monthly expenditures to offset the
reduction in income.

        Having been fully advised of the difference in the effects of a Chapter 13 discharge and a Chapter
7 discharge, particularly as to secure home mortgage creditors, the Debtors move this Honorable Court to
convert this case to a proceeding under Chapter 7 of the Bankruptcy Code.
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Date: December 12, 2018                                    Respectfully submitted,




                                                           /s/ Ann Shaw
                                                           Ann Shaw, 09595
                                                           The Law Firm of Shaw & Crowson, P.A.
                                                           212 W. Main Street, Suite 303
                                                           P.O. Box 448
                                                           Salisbury, MD 21803-0448
                                                           1-410-742-9171
                                                           Attorney for Debtor
                                                           ashaw@lawislocal.com


                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 12th day of December, 2018, a true and correct copy of the
Debtors’ Motion to Convert Case Under Chapter 13 to Case Under Chapter 7 was sent by first class mail,
proper postage prepaid to the following, as well as all creditors and interested parties on the attached list:

                                          U.S. Department of Justice
                                          Office of the U.S. Trustee
                                          101 W. Lombard Street, Suite 2625
                                          Baltimore, MD 21201

                                          Robert S. Thomas, II
                                          Chapter 13 Trustee
                                          300 E. Joppa Road, Suite #409
                                          Towson, MD 21286



                                                           /s/ Ann Shaw
                                                           Ann Shaw, 09595
                                                           The Law Firm of Shaw & Crowson, P.A.
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Apple Infusion Inc
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Atlantic General Hospital
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Bay Area Receivables
714 Eastern Shore Dr
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Bay Area Receivables
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Salisbury, MD 21802-3535

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Delmarva Collections
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Delmarva Collections, Inc.
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Delmarva Radiology
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Mr. Cooper
Attn: Bankruptcy
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Coppell, TX 75019-4620

Nationstar/Mr Cooper
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Peninsula Regional Medical Center
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Salisbury, MD 21801-5493

Peninsula Regional Medical Group
100 E. Carroll Street
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State of Maryland DLLR
Division of Unemployment Insurance
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Baltimore, MD 21201-2225

The Bank of New York Mellon
f/k/a The Bank O
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